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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 WENDELL USHER, JR.,

       Plaintiff,                            CIVIL ACTION FILE NO.

 v.

 PLATINUM EXPRESS, INC. and                  REMOVED FROM STATE COURT
 TIERRE JAMEL MOSLEY,                        OF HENRY COUNTY
                                             CIVIL ACTION FILE NO.
       Defendants.                           STSV2022000072

  DEFENDANT PLATINUM EXPRESS, INC.'S NOTICE OF REMOVAL
            TO UNITED STATES DISTRICT COURT


TO: The Honorable Judges of the United States District Court for the Northern District

of Georgia, Atlanta Division:

      COMES NOW, PLATINUM EXPRESS, INC. (hereinafter “Defendant”), and

files the following Notice of Removal to United States District Court, showing the

Court as follows:

      1.      This civil action was filed on or about January 19, 2022 in the State Court

of Henry County, State of Georgia. That action is designated there as Civil Action File

No.: STSV2022000072. Defendant was served on or about February 14, 2022, which
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is the first time Defendant had notice of the suit. Further, no evidence of service has

been filed with the Henry County State Court. This notice of removal is timely filed.

        2.      Defendant files herewith a copy of all process, pleadings, and orders

received by Defendant in Civil Action File No.: STSV2022000072, pursuant to 28

USC §1446.

        3.      Defendant, is now, was at the commencement of Civil Action File No.:

STSV2022000072, and at all times since has been an entity organized and existing

under the laws of the State of Delaware.

        4.      Defendant’s Principal Office at the time of filing of Civil Action File No.:

STSV2022000072, and at all times since has been located in Dayton, Ohio. (Compl.

¶ 2).

        5.      Defendant Tierre Jamel Mosley was at the commencement of Civil

Action File No.: STSV2022000072, and at all times since has been a citizen and

resident of the State of Ohio. (Compl. ¶ 4).

        6.      Upon information and belief, Plaintiff is an individual residing in the

State of Georgia. (Compl. ¶ 1).

        7.      The action described above is a civil action with a claim of which this

Court has original jurisdiction, and it is one that may be removed to this Court by the

Defendant pursuant to the provisions of 28 USC §§ 1332 and 1441 et seq., in that there

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is complete diversity among the Parties, the Parties are not residents of the same State,

and Plaintiff has alleged an amount in excess of $75,000.00, therefore the amount in

controversy exceeds $75,000.00 exclusive of interest and costs.

      8.      Defendants attach hereto a copy of the Summons and Complaint in State

Court of Henry County, State of Georgia, marked as Exhibit “A”.

      9.      Defendants attach hereto a copy of Defendants' Notice of Removal which

has been sent for filing in the State Court of Henry County, State of Georgia, marked

as Exhibit “B”.

      11.     All Defendants agree to this removal.

      WHEREFORE, Defendant prays that the above action now pending against it

in the State Court of Henry County, State of Georgia, be removed to this Court.

      Respectfully submitted this 3rd day of March, 2022.

                                                 HALL BOOTH SMITH, P.C.

                                                 /s/ Paul E. Petersen
                                                 SCOTT H. MOULTON
                                                 Georgia State Bar No. 974237
                                                 PAUL E. PETERSEN
                                                 Georgia State Bar No. 791066
                                                 Attorneys for Defendants




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DEFENDANT DEMANDS
TRIAL BY JURY




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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
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WENDELL USHER, JR.,

       Plaintiff,                          CIVIL ACTION FILE NO.
                                           STSV2022000072
v.

PLATINUM EXPRESS, INC. and
TIERRE JAMEL MOSLEY,                       REMOVED FROM STATE COURT
                                           OF HENRY COUNTY
       Defendants.                         CIVIL ACTION FILE NO.
                                           STSV2022000072

                         CERTIFICATE OF SERVICE



      I hereby certify that on this day I have served a copy of the within and

foregoing DEFENDANT PLATINUM EXPRESS, INC.'S NOTICE OF

REMOVAL TO UNITED STATES DISTRICT COURT upon all parties to this

matter by depositing same in the U.S. Mail, proper postage prepaid, addressed to

counsel of record and/or filing said document electronically which will

automatically send electronic notification to the following:




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      Respectfully submitted this 3rd day of March, 2022.

                                             HALL BOOTH SMITH, P.C.


                                             /s/ Paul E. Petersen
                                             SCOTT H. MOULTON
                                             Georgia State Bar No. 974237
                                             PAUL E. PETERSEN
                                             Georgia State Bar No. 791066
                                             Attorneys for Defendants

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